Case 2:10-cv-08888-CJB-JCW Document 85349 Filed 04/20/11 Page 1of3

_ IN RE: OIL SPILL by “Deepwater Horizon”
CER gun DIRECT FILING SHORT FORM‘

i Afhorized by Order of the Court, Civil Action No. 10 md 2179 Rec. Doc. 982
angie cee said Order having also been filed in Civil Actions No. 10-8888 and 10-2771)
%

wit SECTION: J JUDGE CARL BARBIER

CL AdM IN LIMITATION--JOINDER IN MASTER ANSWER--INTERVENTION AND JOINDER
aR ces MASTER COMPLAINTS - PLAINTIFF/CLAIMANT PROFILE FORM

By submitting this document, | am asserting a claim in Complaint and Petition of Triton Asset Leasing GmbH, et
al., No. 10-2771; adopt and incorporate the Master Answer [Rec. Doc. 244} to the Complaint and Petition of Triton
Asset Leasing Gmbh, et ai., in No. 10-2771; and/or intervene into, join and otherwise adopt the Master Complaint
[Rec. Doc. 879] for private economic losses (“B1 Bundle”) filed in MDL No. 2179 (10 md 2179); and/or intervene
inte, join and otherwise adopt the Master Camplaint [Rec. Doc. 881] for post-explosion injuries (“B3 Bundie”)
filed in MDL No. 2179 (10 md 2179).

, Last Name First Name Middle Name/Maiden Suffix

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Peres meet Sut Blo ‘LAr City / State / Zip Wes WeRo , 20074

; INDIVIDUAL CLAIM BUSINESS CLAIM
Employer Name Business Name
| Lowe's
| Job Title / Description Type of Business
1 Sees wen
Address Address
Maan Pm oO j LA
| City / State / Zip City / State / Zip
Last 4 digits of your Social Security Number Last 4 digits of your Tax ID Number
| 23/2
, Attomey Name Firm Name
: Address City / State / Zip
Phone Number £-Mai Address
i i ? Claim Fil i °
Claim filed with BP NO w aim Filed with GCCF YES NO ti
i ~~,
| If yes. BP Claim No.- See if yes, Claimant Identification No. 2 7 955.3
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| Claim Type (Please check ail that apply):
:

| Damage or destruction to real or personal property Fear of Future Injury and/or Medical Monitoring
Eamings/Profit Loss Loss of Subsistence use of Natural Resources
Personal injury/Death Removal and/or clean-up costs
Other: ;

+ This form should be filed with the U.S. District Court for the Eastern District of Louisiana, 500 Poydras Street, New Orleans, Louisiana 70130, in Civil Action No.
10-8888. While this Direct Filing Short Form is to be filed in CA No. 10-8888, by prior order of the Court, (Rec. Doc, 246, C.A. Ne. 10-2771 and Rec, Doc. 982 in MBL
2179}, the filing of this form in C.A. No. 10-8888 shall be deemed to be simultaneously filed in C.A. 16-2771 and MDL 2179. Plaintiff Liaison Counsel, after being
notified electronically by the Clerk of Court of the filing of this Short Form, shall promptly serve this form through the Lexis Nexis service system on Defense Liaison.

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The filing of this Direct Filing Short Form shall also serve in law of the requirement of a Plaintiff to file a Plaintiff Profite Form.

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3.

For post-e

<plosion Claims related {0 clean

employer, and where you were working.

"Up OF removal, include your role in the clean-up activities, the ame of your

Case 2:10-cv-08888-CJB-JCW Document 85349 Filed 04/20/11 Page 3 of 3

Miclwel P. Tchnéon spd )-2992

Please check the box(es) below that you think apply to you and your claims:
Non-governmental Economic Loss and Pro y Damage Clai Bundle B1

1. Commercial fisherman, shrimpar, crabber, or oysterman, or the owner and operator of a business involving fish ing, shrimping,
crabbing or oystering. :

Oz. Seafood procasser, distributor, retall and seafood market, or restaurant owner and operator, or an employee thereof.

(13. Recreational business owner, operator or worker, including a recreational fishing business, commercial quide service, or charter
fishing business who eam their living through the use of the Gulf of Mexico.

Jaa Commercial business, business owner, operator or worker, including commercial divers, offshore oilfield setvice, repair and
supply, real estate agents, and supply companies, or an employee thereof.

[-] 5. Recreational sport fishermen, recreational diver, beachgoer, or recreational boater.
[J 6. Plant and dock worker, including commercial seafood plant worker, longshoreman, or ferry operator.

Ol? Owner, lessor, or lessee of real property alleged to be damaged, harmed or impacted, physically or economically, including
lessees of oyster beds.

(1) 8. Hotel owner and operator, vacation rental owner and agent, or all those who earn their living from the tourism industry.
Oa. Bank, financial institution, or retail business that suffered losses as a result of the spill.

(] 10. Person whe utilizes natural resources for subsistence.

C14. Other:

Post-Explosion Personal Injury, Medical Monitoring, and Property Damage Related to Cleanup (Bundle B3)

C 1. Boat captain or crew involved in the Vessels of Opportunity program.

oO 2. Worker involved in decontaminating vessels that came inte contact with oil and/or chemical dispersants.

oO 3. Vessel captain or crew who was not involved in the Vessels of Opportunity Program but who were exposed to harmful chemicals,
odors and emissions during post-explosion clean-up activities.

oO 4, Clean-up warker or beach personnel involved in clean-up activities along shorelines and intercoastal and intertidal zones.
oO 5. Resident who lives or works in close proximity to coastal waters.
(6. Other:

Both BP and the Gulf Coast Claim s Facility CGCCF”) are hereby authorized to relea se to the Defend ants in MDL
2179 all information and documents submitted by above-named Plaintiff and information regarding the status of any
payment on the claim, subject to such information being treated as “Confidential Access Restricted” under the Order
Protecting Confidentiality (Pre-Trial Order No. 11), and subject to full copies of same being made available to both
the Plaintiff (or his attorney if ely filing this form and PSC through Plaintiff Liaison Counsel.

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The filing of this Direct Filing Short Form shall also serve in Hau of the requirement of a Plaintiff to file a Plaintiff Profile Form.

